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 7                             UNITED STATES DISTRICT COURT
 8                       SOUTHERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                 MAGISTRATE CASE NO: '22 MJ2907
10
                  Plaintiff,
11                                             COMPLAINT FOR VIOLATION OF:
            v.
12                                             Title 18, U.S.C., Sec. 1591: Sex Trafficking
     WESLEY ALLEN NEELY,
                                               of Children
13
                  Defendant.
14
15
16         The undersigned Complainant, being duly sworn, states:
17                                         COUNT 1
18         From on or about August 1, 2022 to on or about August 10, 2022, within the
19 Southern District of California and elsewhere, Defendant Wesley Allen NEELY, in and
20 affecting interstate or foreign commerce, did knowingly recruit, entice, harbor, transport,
21 provide, obtain, and maintain by any means a person (MF), knowing and in reckless
22 disregard of the fact, and having had a reasonable opportunity to observe MF, that MF
23 had not attained the age of 18 years and would be caused to engage in a commercial sex
24 act, in violation of Title 18, United States Code, Sections 1591(a) and (b)(2).
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 1        The complainant states that this complaint is based on the attached Statement of
 2 Facts incorporated herein by reference.
 3
                                          __________________________
 4                                        Drew R. Mycka
                                          Special Agent
 5
                                          Federal Bureau of Investigation
 6
 7 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
 8 by telephone on this 12 day of August, 2022.
 9
10                                        __________________________________
11
                                          HON. KAREN S. CRAWFORD
12                                        UNITED STATES MAGISTRATE JUDGE
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 1                           PROBABLE CAUSE STATEMENT
 2         I am a Special Agent for the Federal Bureau of Investigation (FBI). I have been a
 3 Special Agent since October 2014. I am currently assigned to the Child Exploitation Task
 4 Force of the San Diego Field Office, where I assist in the investigation of crimes
 5 concerning child exploitation and human trafficking. I have been employed by the FBI
 6 since September of 2009 and served as an Intelligence Analyst prior to becoming a
 7 Special Agent. My experience as an FBI Special Agent has included the investigation of
 8 cases involving the use of computers and the Internet to commit crimes. I have received
 9 training and gained experience in interviewing and interrogation techniques, arrest
10 procedures, search warrant applications, the execution of searches and seizures, computer
11 evidence seizure and processing, and various other criminal laws and procedures. I have
12 personally participated in the execution of search warrants involving the search and
13 seizure of cellular telephones and other electronic devices.
14         On August 10, 2022, the FBI and the San Diego Human Trafficking Force
15 (SDHTTF) participated in the FBI’s national initiative, Operation Cross Country (OCC).
16 The purpose of OCC is to identify, rescue, and recover underage victims of the
17 commercial sex trade, as wells as identify, arrest, and prosecute commercial sex
18 traffickers. As part of this operation, undercover (UC) law enforcement officers posed as
19 sex buyers, or “johns,” to locate active online advertisements of individuals appearing to
20 be minors offering commercial sex services in San Diego, California. UCs then directed
21 these individuals to the Homewood Suites by Hilton San Diego Hotel Circle/SeaWorld
22 Area, 2201 Hotel Cir S, San Diego, CA 92108 (Homewood Suites) in the Southern
23 District of California, where rooms were reserved to carry out the operation. Task Force
24 Officers (TFOs) and San Diego Police Department (SDPD) uniformed officers set up
25 surveillance in and around the Homewood Suites to watch for and detect individuals
26 arriving for their commercial sex dates or any individuals believed to be acting as sex
27 traffickers once a victim was dropped off at the hotel.
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 1           As part of OCC, FBI and TFOs searched law enforcement databases for
 2 commercial sex advertisements for individuals who appeared to be underage, in order to
 3 arrange meetings with those individuals. They located an advertisement on the website
 4 megapersonals.eu 1 offering “incalls” and “outcalls” in San Diego, which in my training
 5 and experience I know to refer to when a john either comes to a sex workers location, or
 6 when a sex worker goes to the john’s location, to engage in commercial sex activities.
 7 The advertisement contained multiple photographs of a young looking female. On August
 8 10, 2022 at approximately 8:56 p.m., a UC officer contacted the phone number listed on
 9 the advertisement, XXX-XXX-1776, using a recorded phone line. During the
10 communications, the UC officer negotiated with the user of the phone, a female later
11 identified as a 15-year-old runaway (MF), to receive sexual favors in exchange for
12 money; specifically, “full service” for one hour for $300. Based on my training and
13 experience, I am aware that the slang term “full service” is commonly used to refer to
14 vaginal intercourse to completion. The UC officer instructed the user of the phone to meet
15 him at the Homewood Suites. On August 10, 2022, at about 09:51 p.m., MF arrived at
16 Homewood Suites.
17           MF was observed by law enforcement surveillance units exiting the backseat of a
18 Toyota sedan bearing California License plates. Two males were observed in the front
19 seat. The driver was later identified as NEELY. MF was observed as she proceeded to
20 the hotel room as directed by the UC officer. MF knocked on the hotel room and met
21 with a UC officer, who allowed MF to enter the room. MF was then contacted by law
22 enforcement wearing identifiable clothing/outer-vest marked police. She self-identified
23 as being a 15-year-old runaway juvenile and provided TFOs with her true name and date
24 of birth.
25           Meanwhile, surveillance units maintained a constant visual of the Toyota which
26 had not left the area and was still parked along the curb line in front of Homewood Suites.
27
    In my training and experience, I am familiar with megapersonals.eu, which is a website operating in
     1
28 interstate commerce that is used to post advertisements offering commercial sex.
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 1 Uniformed SDPD officers were directed to detain the occupants of the Toyota. The
 2 driver, NEELY, and the front seat passenger, were detained without incident and
 3 transported to SDPD Western station for processing.
 4        MF was interviewed by TFOs. She denied that NEELY or the other passenger of
 5 the car were involved in trafficking her, and claimed that they did not know of her
 6 involvement in prostitution, and that she had only met them that day. However, during
 7 that interview, she consented to a search of her cellular telephone. Investigators searched
 8 her cellular telephone and found text messages between MF and NEELY. NEELY’s
 9 contact was saved in MF’s phone as “Wes” and was the same phone number, XXX-XXX-
10 0933,that NEELY provided to officers. In those messages, which began on July 29, 2022
11 and continued until August 10, 2022, Investigators located messages that in my training
12 and experience indicate that NEELY was directing MF’s commercial sex activities. For
13 example, NEELY requested MF to send him photos of herself for the use of posting
14 prostitution advertisements. MF and NEELY also had a conversation regarding his
15 transporting her to the Homewood Suites. And, on or about August 1, 2022, MF sent
16 NEELY a picture of herself with the words “15 yr old placement run away” superimposed
17 above her head.
18        NEELY waived his Miranda Rights and agreed to speak with Investigators. He
19 stated that he met MF through Instagram and later maintained contact with her via
20 cellphone. He acknowledged sending and receiving the text messages detailed above.
21 Neely stated he is aware MF is involved in prostitution but denied collecting her
22 prostitution earnings and denied knowledge that she is a minor. Neely described his role
23 as protecting MF from her prior pimp and assisting MF in her prostitution dealings by
24 providing transportation and arranging for her online advertisements to be posted.
25 NEELY was arrested and booked into San Diego County Jail.
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